 1                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                    CASE NO. 20-02631-MCF13
 4   ANA IRIS ALVAREZ RIVERA                   Chapter 13

 5

 6
     xx-xx-1863
 7
                     Debtor(s)                      FILED & ENTERED ON JUN/25/2021
 8

 9
                                            ORDER
10
             The Debtor’s second motion requesting extension of time to reply to the
11
     trustee’s motion to dismiss (docket #27) is hereby granted.     Order due July 26,
12
     2021.
13
             IT IS SO ORDERED.
14
             In San Juan, Puerto Rico, this 25 day of June, 2021.
15

16

17

18

19

20

21

22

23

24

25

26

27

28

29

30

31

32
